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                                    Nos. 23-1148 & 23-1766

                United States Court of Appeals
                                                       for the

                                     Fourth Circuit

                              STUDCO BUILDING SYSTEMS US, LLC,
                                                                                   Plaintiff-Appellee,
                                                         – v. –
                            1ST ADVANTAGE FEDERAL CREDIT UNION,
                                                                               Defendant-Appellant.
                                     _____________________________
                        ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA AT NORFOLK


                             OPENING BRIEF OF APPELLANT


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                                JURISDICTIONAL STATEMENT

                 This matter is properly before the Court as an appeal from a final order or

        judgment under 28 U.S.C. § 1291.

                 The Amended Complaint pled both federal question jurisdiction, 28 U.S.C.

        § 1331, and diversity jurisdiction under 28 U.S.C. § 1332. After the district court

        dismissed Plaintiff’s claim under the Racketeering Influenced and Corrupt

        Organizations Act, 18 U.S.C. §§ 1961 et seq., leaving only state-law claims, the

        matter proceeded under the district court’s diversity jurisdiction. Plaintiff Studco

        Building Systems US, L.L.C. (“Studco”) is an entity organized under the laws of the

        State of New York with its principal place of business in that state. Amended

        Complaint ¶ 5, JA19. Defendant 1st Advantage Federal Credit Union

        (“1st Advantage”) is a federally-chartered credit union localized in Virginia with its

        headquarters in the Commonwealth of Virginia. The parties are of diverse

        citizenship and the amount in controversy exceeds $75,000, exclusive of interest and

        costs.

                 This Court has jurisdiction of this appeal pursuant to 28 U.S.C. § 1291. A

        Memorandum and Order was issued by the district court, after a bench trial, on

        January 12, 2023. JA550. The district court awarded compensatory damages to

        Studco on two counts (“mis-designation of beneficiary under the UCC” and

        common-law “bailment”). The district court also invited Studco to file a petition for
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        costs and attorney’s fees. 1st Advantage filed a timely (albeit protective) Notice of

        Appeal on February 7, 2023. JA586. On February 9, 2023, Studco filed a timely

        motion under Federal Rule of Civil Procedure 59(e) to alter or amend the judgment

        to add a punitive damages award at Virginia’s statutory limit of $350,000. JA588.

              Studco’s Rule 59(e) motion to add punitive damages was denied by the district

        court on July 7, 2023, JA550. Studco filed a Notice of Cross-Appeal on July 21,

        2023, JA593, which was timely pursuant to Federal Rule of Appellate Procedure

        4(a)(1)(A). The denial of Studco’s Rule 59(e) motion made 1st Advantage’s Notice

        of Appeal effective as of July 7, 2023, pursuant to Federal Rule of Appellate

        Procedure 4(a)(2). This Court consolidated the appeal and cross-appeal, designating

        1st Advantage as appellant, by Order dated July 24, 2023.

              Accordingly, the appeal and cross-appeal are from final orders or judgment of

        the district court, and this Court has jurisdiction to hear them. 1

                              ISSUES PRESENTED FOR REVIEW

              This appeal presents primarily two strictly legal issues for review, the correct

        resolution of each being critically important to the continued viability of the system

        of electronic funds transfers that makes the modern financial system possible.


        1
         Plaintiff’s petition for an award of costs and attorney’s fees remains pending in the
        district court. No party requested, and the district court did not enter, an order under
        Federal Rule of Civil Procedure 58(e), so the pendency of that petition does not
        affect the finality of the orders and judgment which are subject to this appeal.


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              First, did the district court err by, in essence, substituting a negligence system

        for the strictures of Uniform Commercial Code Section 4A-207? That provision

        governs liability when an electronic transfer of funds, such as in this case, is sent to

        and accepted by a financial institution, but the name and the account number on the

        transfer do not match. This is termed “mis-designation of beneficiary,” and the UCC

        imposes liability on the accepting institution only when the accepting institution has

        “actual knowledge,” at the time of its acceptance, that the account number and name

        do not match. Given the millions upon millions of such transactions made daily, the

        UCC (and the nonbinding rules of a private institution, the National Automated

        Clearing House Association, or “NACHA”) expressly allow the recipient financial

        institution to rely solely on the account number. Neither the law nor the private rule

        impose any duty on the recipient financial institution to check, match, or even look

        at the name on the account. Unless the recipient financial institution had actual

        knowledge at time of acceptance that there was a mis-match between name and

        account number, and accepted the deposit despite actually knowing that the name

        did not match the account number, the recipient financial institution (here,

        1st Advantage) is not liable.

              Second, did the district court err by imposing liability on 1st Advantage for a

        breach of a common-law bailment under these same circumstances? Liability under

        a bailment theory is based on negligence, at least in Virginia, and the varying



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        standards for negligence in the Commonwealth and in other jurisdictions have been

        preempted, in the interests of a harmonized national system, by the very provision

        of the UCC upon which Studco relies in this case. Moreover, it is beyond

        peradventure that, under Virginia law, a bailment is created only by the entrustment

        of chattel – a physical object – and that any kind of money deposit in any kind of

        financial institution does not create a bailment, but rather a generalized debt.

               A subsidiary issue is also present. In its uncritical acceptance of the scam

        e-mail – which, among other things, was signed with a correct e-mail address but

        which directed responses to the purported sender at a similar, but noticeably

        different, scam e-mail address – Studco acted negligently. To the extent

        1st Advantage’s liability in this case is predicated in the slightest degree on its failure

        to act with due regard, the merest negligence by Studco bars its recovery under

        Virginia’s strict rule of contributory negligence.

                                     STATEMENT OF THE CASE

               This case arises out of an Internet scam in which none of the parties to the

        case had a role, other than as victim. Appellee Studco, plaintiff below, was scammed

        by a person or persons unknown five years ago. Studco now seeks to make

        1st Advantage bear its loss, since the funds of which it was scammed passed through

        a 1st Advantage member account on their way to the wrongdoers.




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              Studco fell victim to an international Internet scam in the fall of 2018 when

        its e-mail system was infiltrated. Based on an unconfirmed, albeit suspicious, e-mail

        purporting to be from one of its suppliers, Studco stopped sending remittances for

        that supplier to the supplier’s account at JPMorgan/Chase, and sent them instead to

        an account at 1st Advantage. JA474-JA476. The scammers had anonymously

        induced a long-time 1st Advantage member to create the account by “hiring” her to

        act as a conduit for funds for “real estate” transactions; the funds Studco was tricked

        into sending to her “real estate” closings account were promptly sent onwards. 2

        Despite the involvement of local law enforcement and the Federal Bureau of

        Investigation, no one has identified the scammers or recovered any of the funds,

        although an internal report by Studco’s information technology provider suggests

        the attacks on its system originated in places such as the United Arab Emirates,

        Nigeria, and Dubai. JA458.

              Studco is a steel fabricator, whose principal office in the United States is in

        Webster, New York. Studco does not manufacture its own steel; it purchases steel

        as a raw material from its suppliers. The supplier involved in this case is Olympic

        Steel, Inc. After receiving the fraudulent scam e-mail early in October 2018


        2
         By this time no one contends that this 1st Advantage member was other than an
        unwitting dupe, and “John Doe” has been dismissed from the case. Depositors in a
        credit union, which is owned cooperatively, are referred to as “members” rather than
        as depositors, clients, or customers.


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        purporting to come from Olympic Steel, Studco directed four Automated Clearing

        House (ACH) payments intended for Olympic Steel to the member account created

        at 1st Advantage, totaling $558,868.71. 3 Since the ACH transfers were all made to a

        properly-numbered existing 1st Advantage account, albeit naming Olympic Steel as

        the payee, 1st Advantage’s system automatically accepted them, without human

        intervention, as permitted by the UCC.

                 Studco wants this money back. Studco’s Amended Complaint pled that under

        the UCC, 1st Advantage had actual knowledge that the account numbers and name

        of the recipient did not match. See, e.g., Am. Comp. ¶ 176, JA37. After discovery

        revealed that 1st Advantage lacked that actual knowledge, Studco argued at trial, and

        the court below agreed, that 1st Advantage should nonetheless be deemed to have

        had “actual knowledge” that the beneficiary of the transfers was “mis-designated”

        at the time the transfers were accepted, even though it did not in fact have such actual

        knowledge, because 1st Advantage should have used more rigorous internal

        procedures.

                 1st Advantage itself is a relatively modestly-sized, federally-chartered,

        member-owned, not-for-profit, community-based credit union. Its membership

        generally is restricted by its federal charter to those living or working in Hampton



        3
            The timing and amount of the payments were stipulated to at trial.


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        Roads and northeastern North Carolina. It is subject to regulation and oversight by

        the National Credit Union Administration (“NCUA”), a federal regulatory agency

        which performs periodic audits of its systems, usually yearly.

              1st Advantage first became aware of the scam when the President of Studco

        made a cold-call to the main 1st Advantage telephone number on November 21,

        2018. Although declining to provide personal and financial information about the

        member who opened the account, due to federal regulatory concerns, 1st Advantage

        immediately closed the account; initiated a cooperative investigation under federal

        law with JP Morgan/Chase and with Bank of America, and provided all of its

        documentation to the FBI. JA149-JA150, JA330, JA370-372 (testimony Keith

        Ward, Director of Compliance for 1st Advantage).

              Studco filed suit in the Western District of New York against 1st Advantage

        and its member (naming her as “John Doe”) in November 2019. JA3 (docket sheet).

        Studco filed its Amended Complaint, the operative pleading, on January 29, 2019,

        JA18. Notwithstanding discussions between the parties and their counsel on a

        number of occasions during 2019, and notwithstanding its own IT company’s report

        indicating the international origin of the scam, the Amended Complaint accused

        1st Advantage itself, together with its “John Doe” member, of having been the

        scammers -- a racketeering enterprise. Studco pled that 1st Advantage “knew” that

        the transfers to 1st Advantage were “fraudulent,” Am. Compl. ¶ 79, JA27; that



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        1st Advantage “benefitted from concealing [these] acts,” id. ¶ 143, JA34; that

        1st Advantage engaged in a “pattern of racketeering activity,” id. ¶ 262, JA46, and

        that Studco lost its money due to 1st Advantage’s “racketeering activity.” Id. ¶ 268,

        JA 46.

              The Amended Complaint even pled that 1st Advantage and its member

        originated the scam e-mail – that 1st Advantage acted “in concert and agreement”

        with its member in sending the original scam e-mail to Studco, Am. Compl. ¶¶ 69-

        71, JA26, and that 1st Advantage and its member had “tricked Studco into sending

        [the] wire transfers [to 1st Advantage],” id. ¶¶ 262, 265, JA46 -- and as well that

        1st Advantage “knew the transfers [from Studco] were fraudulent, and was required

        to refuse those transfers but did not.” id. ¶ 168, JA37. 4

              On 1st Advantage’s motion, the action was transferred from New York to the

        Eastern District of Virginia in July 2020. JA6 (docket entry). 1st Advantage filed a

        motion to dismiss all eight of the claims in the Amended Complaint, JA50, which

        the district court, Hon. Raymond A. Jackson presiding, granted as to five of the

        claims (including the RICO claim) on December 18, 2020, JA53. The district court

        dismissed all claims against the “John Doe” member defendant. JA58-JA59.




        4
         There has never been any evidence that the member (or 1st Advantage) had anything
        whatsoever to do with sending the scam e-mail; these allegations were improvident.


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               After resolution of the motion to dismiss, three claims remained against

        1st Advantage, all under Virginia law:

            • Count One, alleging “mis-designation of beneficiary” under Section 4A-207

              of the Uniform Commercial Code, Va. Code § 8.4A-207. JA59.

            • Count Three, alleging “bailment” under common law. JA62.

            • Count V, alleging “fraudulent concealment” under common law. JA66. 5

               The parties stipulated to a bench trial, JA11 (docket entry 101). The parties

        filed cross-motions for summary judgment, both of which were denied on May 2,

        2022. JA103 (docket entry). The matter was tried to the district court on

        September 13 and 14, 2022, JA12 (docket entry), and the parties subsequently

        submitted proposed findings of fact and conclusions of law, JA487 (Defendant’s

        Proposed Findings of Fact and Conclusions of Law); JA513 (Plaintiff’s Proposed

        Findings of Fact and Conclusions of Law).

               On January 12, 2023, the district court issued a Memorandum Opinion and

        Order, JA550, which is the subject of this appeal.




        5
         “Fraudulent concealment” is not a claim recognized by Virginia law. Rather, it is a
        doctrine by which the fraudulent concealment of the existence of a claim may, in
        some circumstances, toll the statute of limitations. Studco pled that the failure of
        1st Advantage to provide personal and financial information about its “John Doe”
        member directly to Studco, before the suit was filed, was actionable (as opposed to
        barred by federal bank privacy laws, 12 C.F.R. § 1016.10(a)(1)). No matter: the
        district court held against Studco on this count. JA582-JA583.

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                                    SUMMARY OF ARGUMENT

              With respect, the experienced district court judge below made fundamental

        errors of law which, if uncorrected, stand a significant chance of undermining the

        highly-automated system of electronic bank transfers that make the modern

        economy function.

              First, the district court erred by holding 1st Advantage liable to Studco on a

        theory of “mis-designation of beneficiary,” as set forth in Section 4A-207 of the

        Uniform Commercial Code. That provision recognizes that, given the myriad

        electronic transfers among and between banks, credit unions, and other institutions,

        it is impracticable to provide a detailed examination of each transfer. Transactions

        may be automated, and essentially all of them are. A recipient financial institution

        has no obligation to confirm that the name on a deposit conforms to the account

        number indicated in an electronic deposit, and expressly is permitted to rely solely

        on the account number in accepting the deposit. The only exception to that rule

        relevant here is when the recipient financial institution has actual knowledge that a

        particular deposit account number does not match the account name.

              Here, the testimony was unequivocal that 1st Advantage did not have actual

        knowledge that the ACH transfers initiated by Studco pursuant to the scam – which

        included the 1st Advantage member’s correct account number but the name of

        Olympic Steel – were “mis-designated” at the time they were accepted. Those



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        transfers were accepted into the properly-numbered account automatically and

        without human intervention. While 1st Advantage’s automated system –

        commercially provided by the largest provider of such systems in the nation -- did

        include a review to see if the name and number matched, that “warning” was

        activated if there was any discrepancy between the name on the account and the

        name on the deposit: “John M. Smith” on a deposit would trigger a “warning” if a

        check payable to “Smith, John M.” was presented. These internal warnings,

        triggered hundreds or thousands of times a day at 1st Advantage alone, were found

        not to be useful and were not reviewed routinely, although they were captured on an

        internal data processing system. Other matters flagged by the system, which were

        termed “exceptions,” were intended to catch suspicious transactions; the evidence is

        undisputed that no “exceptions” were triggered by Studco’s four deposits to the

        member’s account.

              In holding for Studco on this UCC claim, the district court discussed a number

        of ways in which 1st Advantage might have modified its commercially-available

        systems to “catch” a larger number, or wider variety, of suspicious transactions. In

        so holding, the lower court strayed from the “actual knowledge” standard required

        by the UCC to the fuzzy realm of negligence. This was error as a matter of law.

              And even if the district court was right to import the law of negligence into

        this statutory claim, the court below erred. To the extent that the district court held



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        1st Advantage liable due to its reliance on a widely-available, widely-used, unaltered

        commercial program to catch problems – a system which had been used for thirty

        years or more by 1st Advantage without ever experiencing a similar issue, which was

        audited as recently as the year before and disclosed no problems, and which was

        reviewed by its federal regulatory authority – the court committed clear error in

        holding that 1st Advantage did not act in a commercially-reasonable manner.

              Second, the district court erred as a matter of law in awarding judgment to

        Studco on its common-law bailment theory. No bailment existed in this case, for the

        plain and undeniable reason that Studco never delivered chattel to 1st Advantage to

        hold. Under Virginia law, a claim of bailment presupposes the delivery of chattel –

        a thing – to the defendant. A deposit of funds into a bank creates a generalized debt

        payable by the bank; it does not create a bailment. The case law is clear on this issue.

              Finally, to the extent that Studco prevails on either the UCC claim or the

        bailment claim based on an allegation that 1st Advantage did not exercise ordinary

        care, Virginia’s strict adherence to the doctrine of contributory negligence would bar

        the claim. The district court merely questioned whether Studco’s negligence could

        be a proximate cause of the harm it suffered, and then reiterated its conclusions

        respecting 1st Advantage’s failure to act in a commercially reasonable manner.

        JA582 (Mem. Op. of Jan. 12, 2023 at 33). Respectfully, this misses the point, and

        constitutes an error of law. But even if one concedes (which 1st Advantage does not)



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        that 1st Advantage’s system fell short of the standard of care, and that this is the

        proper standard for evaluating its liability, Studco still may not recover at all if its

        own negligence caused any part of the losses. And here, Studco’s profound

        negligence bars all recovery.

                                            ARGUMENT

                                        Standard of Review

              By agreement of the parties, this matter was tried to the district court sitting

        without a jury. Accordingly, this Court reviews questions of law de novo, and

        conclusions of fact for clear error. Greenbrier Hotel Corp. v. Unite Here Health,

        Nos. 16-2116, 17-1720, 719 F. App’x. 168 (4th Cir. 2018); Tatum v. RJR Pension

        Inv. Comm., 761 F.3d 346, 357 (4th Cir. 2014).

        I.    THE DISTRICT COURT COMMITTED AN ERROR OF LAW BY
              CREATING A NEGLIGENCE STANDARD FOR LIABILITY UNDER
              VA. CODE § 8.4-207, WHICH IMPOSES LIABILITY ONLY WHERE
              THE RECEIVING FINANCIAL INSTITUTION HAD “ACTUAL
              KNOWLEDGE” OF MIS-DESIGNATION OF THE BENEFICIARY
              AT THE TIME THE TRANSACTION OCCURRED

              The district court erred as a matter of law by importing the equivalent of a

        negligence standard into Studco’s claim for misdescription of beneficiary under

        Virginia Code Section 8.4A-207. This provision of the Uniform Commercial Code

        allocates liability in the case where a transfer is made into an account at a financial

        institution, but the account number does not match the name on the account. The

        general rule is that unless the receiving financial institution had actual knowledge of

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        the difference at the time the deposit was made – and 1st Advantage did not – the

        receiving financial institution is not liable. The essence of the lower court’s opinion

        is that 1st Advantage’s procedures were not “commercially reasonable” – i.e., did not

        meet a standard of care and were negligent -- and therefore it could not avoid liability

        due to its lack of actual knowledge. 6

              At the motion to dismiss stage, the district court correctly described the law:

                     [Section 207] provides that if the bank receives a payment
                     order that identifies the beneficiary by name and account
                     number, the bank may rely in the account number even if
                     the number and name identify different persons. . . . For
                     purposes of this statute, “Know” means actual
                     knowledge. . . . To put it another way, a bank may accept
                     a wire transfer relying solely on the number as the proper
                     identification of the beneficiary of the order and it has no
                     duty to determine whether there is a conflict unless the
                     bank actually knows that the number and the name identify
                     different accounts. This if the Bank does not know about
                     a conflict between name and number, then it has no duty
                     to determine whether there is a conflict and it may rely on
                     the number as the proper identification of the beneficiary
                     of the order.




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          Section 207, under which Studco brought this claim, addresses only deposit
        transfers made into an account. It has nothing to do with payments made out of an
        account. And the relevant time to assess 1st Advantage’s knowledge is at the time
        the deposit is made and accepted; information brought to light after the acceptance
        of a deposit, or procedures used to vet payments or the opening of an account, or to
        undertake an investigation related to a payment but not a deposit, have nothing to do
        with Section 207 and its rule allocating liability.


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        Mem. Op. and Order of December 18, 2020 at 7-8, JA59-JA60 (citations omitted,

        emphasis in original). The Virginia iteration of the UCC distinguishes “notice” from

        “knowledge”:

                    (a) Subject to subsection (f), a person has “notice” of a
                    fact if the person:
                    (1) has actual knowledge of it;
                    (2) has received a notice or notification of it; or
                    (3) from all the facts and circumstances known to the
                    person at the time in question, has reason to know that it
                    exists.
                    (b) “Knowledge” means actual knowledge. “Knows”
                    has a corresponding meaning.”

        Va. Code Section 8.1A-202. Official Comment 2 to Section 4A-207 explains the

        reason why actual knowledge matters:

                    A very large percentage of payment orders issued to the
                    beneficiary’s bank by another bank are processed by
                    automated means using machines capable of reading
                    orders on standards formats that identify the beneficiary
                    by an identifying number of the number of a bank account.
                    The processing of the order by the beneficiary’s bank and
                    the crediting of the beneficiary’s account are done by use
                    of the identifying or bank account number without human
                    reading of the payment order itself. The process is
                    comparable to that used in automated payment of checks.
                    The standard format, however, may also allow the
                    inclusion of the name of the beneficiary and other
                    information which can be useful to the beneficiary’s bank
                    and the beneficiary but which plays no part in the process
                    of payment. If the beneficiary’s bank has both the account
                    number and name of the beneficiary supplied by the
                    originator of the funds transfer, it is possible for the
                    beneficiary’s bank to determine whether the name and
                    number refer to the same person, but if a duty to make that
                    determination is imposed on the beneficiary’s bank the

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                    benefits of automated payment are lost. Manual handling
                    of payment orders is both expensive and subject to human
                    error. If payment orders can be handled on an automated
                    basis there are substantial economies of operation and the
                    possibility of clerical error is reduced. Subsection (b)
                    allows banks to utilize automated processing, by allowing
                    banks to act on the basis of the number without regard to
                    the name if the bank does not know that the name and
                    number refer to different persons. “Know” is defined in
                    section 1-201(25) to mean actual knowledge, and section
                    1-201(27) states rules for determining when an
                    organization has knowledge of information received by
                    the organization. The time of payment is the pertinent time
                    at which knowledge or lack of knowledge must be
                    determined. . . . .

        Emphasis added. Similarly, the NACHA Rules in effect during 2018 state:

                    An RDFI [Receiving Financial Depository Institution]
                    may rely solely on the account number contained in an
                    Entry for the purpose of posting the Entry to the
                    Receiver’s account, regardless of whether the name of the
                    Receiver in the Entry matches the name associated with
                    the account number in the Entry.

              At this late date, after the conclusion of the trial, no one still contends that

        1st Advantage accepted the four ACH transfers from Studco’s sending bank while

        actually knowing that the account number into which they were deposited did not

        bear the name of the payee included on the transfer. (The district court denied

        1st Advantage’s motion to dismiss on this ground, while correctly articulating the

        law, because the Amended Complaint made repeated albeit false allegations that

        1st Advantage had such actual knowledge.) The transfers were made on October 4,

        October 16, November 5, and November 31. JA175 (testimony of 1st Advantage

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        compliance manager Keith Ward). The timing and amount of each transfer has been

        stipulated.

              With these principles and dates in mind, what does the evidence show about

        the systems in place at 1st Advantage in 2018?

              Multiple levels of scrutiny were utilized to comply with the UCC and with the

        Bank Secrecy Act. 1st Advantage vetted transactions against the list of suspicious

        entities maintained by the Office of Foreign Assets Control (“OFAC”).

        1st Advantage also used a system called FCRM – “Financial Crimes Risk

        Management” – a rule-based system developed and sold by FiServe, an industry

        leader in protective software for financial institutions, used throughout the industry.

        JA239 (testimony of Keith Ward). And in addition to that, 1st Advantage used a

        system called DataSafe to review incoming ACH transfers. JA260 (testimony of

        Veronica Deans, Deposit Operations Manager for 1st Advantage for 26 years). The

        systems were used as they were provided, “out of the box,” and not modified by

        1st Advantage. JA184 (Ward testimony).

              Of these systems, an OFAC alert generally triggers a hold and an immediate

        investigation. The only OFAC alert to occur in this case was on October 26, 2018,

        when the “John Doe” member sought to make a wire transfer out of the account. The

        alert was determined to be a false positive – no OFAC-prohibited entity was

        involved – but because 1st Advantage was concerned that the member did not have



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        enough information to determine why she was sending the money, 1st Advantage

        temporarily interrupted her wire transfers. Mr. Ward, as head of risk management,

        investigated the matter, with a focus on funds that had been sent out of the account.

        Focusing solely on the sending of international wires, nothing untoward was found.

        JA174, JA219, JA226, JA227, JA285 (Ward testimony).

              The FiServe FCRM system was designed to generate an “exception” when a

        suspicious transaction occurred. No exceptions ever were generated with respect to

        the “John Doe” account, either for incoming or outgoing transactions. JA 277 (Deans

        testimony). In addition, an exception is generated, and manual intervention required,

        when an incoming ACH or other transfer cannot, for some reason be posted. JA263

        (Deans testimony). An exception is not generated if there is simply a mismatch

        between the name and the account number on an incoming deposit. JA277 (Deans

        testimony). Studco’s expert testified that, although he did not know the parameters

        of the FCRM system, JA343, it was commercially reasonable and not negligent to

        use that system. JA344.

              Incoming deposits which do not trigger an OFAC warning, or an exception

        from the Financial Crimes Risk Management system, also go through an automated

        system called DataSafe. In accordance with the UCC and NACHA rules, ACH

        deposits that are vetted by DataSafe are automatically handled, without any human

        intervention, if the deposit is designated for an existing and valid 1st Advantage



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        account number. DataSafe will note any discrepancy between the name on the

        payment and the name on the account – “John Smith” as opposed to “Smith, John”

        – but the deposit will be automatically credited nonetheless. JA260, JA261, JA264

        (Deans testimony).

              If DataSafe detects any mismatch at all between the name and the account

        number, it will indicate a “warning” on the file copy of the document respecting the

        transaction. However, if the account number is valid, the deposit is accepted and the

        “warning” is placed automatically in “Optical,” 1st Advantage’s “electronic filing

        system,” so it can be retrieved later if needed. All four of the ACH transfers from

        Studco triggered a DataSafe warning, but since no exception was ever triggered, no

        one reviewed the data.

              The absence of this review is commonplace, makes sense, and is in accord

        with the statute and NACHA rules. The system generates, at 1st Advantage alone,

        hundreds to thousands of warnings every day; 1st Advantage stores them rather than

        undertaking an individual review “[b]ecause the system generates so many it

        wouldn’t be a benefit to do so.” JA276 (Deans testimony). The use of a commercial

        “CCD” code for a personal account does not generate a warning or exception. JA

        280 (Deans testimony). Ms. Deans testified that, were she required to review the

        hundreds or thousands of “warnings” generated in on a particular day, she “could

        not even get through the processing in a day.” JA285



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              And the procedure Ms. Deans testified about is precisely what the UCC (and

        the NACHA rules) contemplate: the receiving financial institution has no duty to

        determine if the name and account number match, and no duty to make any inquiry.

        The receiving financial institution is free to rely on the account number alone. That

        is just what 1st Advantage does.

              Studco’s claim – a dangerous claim for the automated financial economy -- is

        that 1st Advantage should have done more than using prominent, commercially-

        reasonable, widely utilized, unaltered protective software to review its ACH

        deposits. (At one point, Studco’s expert suggested that 1st Advantage should have,

        internally, reset the FCRM defaults, although he knew of no comparable credit union

        or other financial institution that had done so.)

              The law is clear that the existence of “warnings” internal to the 1st Advantage

        DataSafe system do not constitute actual knowledge to 1st Advantage. First Sec.

        Bank of New Mexico, N.A. v. Pan Am. Bank , 215 F.3d 1147 (10th Cir. 2000):

                     . . . § 55-4A-207(b) was designed with automated wire
                     transfer services in mind. In a fully automated system,
                     computer software identifies the account number on an
                     incoming wire, searches the bank’s system for a matching
                     account number, and credits the account if a match is
                     found. Id., Official Comment 2. The efficiency benefits of
                     an automated system are undermined if a bank is not able
                     to rely on its automated system but must independently
                     verify there is no conflict between a beneficiary name and
                     an account number. Thus, the drafters of § 55-4A-207

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                     clarified that although it is possible for the beneficiary’s
                     bank to determine whether the name and number refer to
                     the same person, it “has no duty to determine whether
                     there is a conflict and it may rely on the number as the
                     proper identification of the beneficiary of the order.” Id.
                     Significantly, the statute “is not limited to cases in which
                     processing is done by automated means. A bank that
                     processes by semi-automated means or even manually
                     may rely on number as stated in Section 4A-207.” Id.
                     Although a bank has no duty to affirmatively search for
                     conflicts between beneficiary names and account numbers
                     of incoming wires, it may not escape liability if, before it
                     pays the wire, it gains knowledge of the conflict by any
                     means but nonetheless pays an individual who is not
                     entitled to receive the funds. “Knowledge” means actual
                     knowledge, not constructive knowledge, and is
                     determined at the time of payment. Id.

        215 F.3d at 1152-53 (emphasis added).

              1st Advantage had no actual knowledge of the mis-designation at the time it

        accepted the deposits. It is not liable to Studco under Section 207.

        II.   THE DISTRICT COURT COMMITTED AN ERROR OF LAW BY
              IMPOSING LIABILITY ON 1ST ADVANTAGE UNDER A COMMON-
              LAW “BAILMENT” THEORY

              A.     Under Virginia Law, Creation of a Bailment Requires the
                     Entrustment of Chattel; Electronic or Other Deposit of Funds in a
                     Financial Institution Cannot Create a Bailment as a Matter of Law

              The district court erred as a matter of law when it determined that an electronic

        deposit of funds into a financial institution created a bailment. Under Virginia law,

        a bailment is created only by the transfer of chattel. “A bailment has been broadly

        defined as ‘the rightful possession of goods by one who is not the owner.’”



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        K-B Corp. v. Gallagher, 218 Va. 381, 384 (1977) (quoting 9 S. Williston, Contracts

        875 (3d ed. 1967)) (emphasis added). “[F]or a bailment to arise there must be a

        delivery of the chattel by the bailor. . . .” K–B Corp., 218 Va. at 384 (citing Crandall

        v. Woodard, 206 Va. 321, 327 (1965)) (emphasis added). See, e.g., Evans v. Charles

        Barker Infiniti, Inc., No. 011858, at 2, 2002 WL 32784253, (Va. June 7, 2002) (“a

        bailment is created when a chattel is lawfully delivered by or with the permission of

        its owner”) (delivery of automobile); Aufforth v. Aufforth, 72 Va. App. 617, 627

        (2020) (bailment involves personal property); Daughtry v. Gray’s Body Shop, Inc.,

        82 Va. Cir. 366 (Norfolk 2011) (same); Auto. Serv. Fin., Inc. v. Affordable Towing,

        Inc. 71 Va. Cir. 15 (Va. Beach 2006) (“a bailment is created when a chattel is

        lawfully delivered by or with the permission of its owner”).

              On the other hand, under Virginia law, a “general deposit in a bank is ‘not a

        bailment.’” Gardner v. Commonwealth, 262 Va. 18, 21 (2001), citing Pendleton v.

        Commonwealth, 110 Va. 229, 234 (1909). Generally the transfer of funds into a

        financial institution creates only a general debt of the financial institution until the

        money is paid out. Bernardini v. Cent. Nat’l Bank, 223 Va. 519, 521 (1982) (“the

        relation between a general depositor and the bank in which his deposit is made is

        simply that of debtor and creditor. The moneys deposited immediately become the

        property of the bank, and the latter becomes debtor of the depositor. . .”), (quoting

        Reserve Bank v. State Bank, 150 Va. 423, 430-31(1928)).



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              In this case, no bailment was created because no chattel was delivered. Every

        case cited by Studco, every case cited by the district court in its decision denying

        1st Advantage’s motion to dismiss in 2020, and every case cited in the district court’s

        2023 Memorandum and Order involved the transfer of chattel, not the deposit of

        funds. See Mem. Op. and Order of Dec. 18, 2020, at JA62 – JA63 (cases referring

        to “possession of goods,” “a delivery of the chattel,” “duty to account for the thing,”

        “control over the goods,” “guest at party who picks up watch,” “employee to furnish

        his own tools.”); Mem. Op. and Order of Jan. 12, 2023, at JA574 (same). Indeed, the

        one case relied upon by Studco, First State Bank of Monroe v. Connoley, 131 Va.

        479 (1921), involved entrustment of a physical package containing cash, not a

        transfer or deposit of funds. Id. at 481 (“Thereupon Connoley took the draft on to

        Lynchburg himself, went to the bank, got the money, done up in a package, and put

        it in his inside coat pocket”).

              No chattel – no physical thing – ever was entrusted to 1st Advantage, by

        Studco or anyone else. It was an error of law for the district court to find that a

        bailment was created here, and to impose liability on 1st Advantage on that basis.




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              B.     The Provisions of the Uniform Commercial Code, Va. Code § 8.4-
                     207, Preempt any Virginia Common Law Cause of Action of
                     Bailment Based on the Same Facts

              Count One of its Amended Complaint contains Studco’s exclusive remedy.

        Article 8.4A of the Virginia iteration of the UCC, titled “Uniform Commercial Code

        – Funds Transfers,” sets forth the exclusive rights, remedies, and procedures for

        electronic funds transfers. “Except as otherwise provided in § 8.4A-108 [the federal

        Electronic Funds Transfer Act, not pertinent here], this title applies to funds transfers

        defined in § 8.4-104.” Va. Code § 8.4A-102. Section 104, in turn, defines “funds

        transfer” and other terms, including terms specifically applicable to Studco’s claim

        under Section 207 respecting the misidentification of a beneficiary.

              Article 8.4A was adopted expressly to prevent the use of other state-level and

        common-law principles to govern these financial transactions. The Official

        Comment to § 8.4A-102 as adopted by Virginia states:

                     In the drafting of Article 4A, a deliberate decision was
                     made to write on a clean slate and to treat a funds transfer
                     as a unique method of payment to be governed by unique
                     rules that address the particular issues raised by this
                     method of payment.
                                             * * * * *
                     Funds transfers involve competing interests – those of the
                     banks that provide funds transfer services and the
                     commercial and financial organizations that use the
                     services, as well as the public interest. These competing
                     interests were represented in the drafting process and
                     they were thoroughly considered. The rules that emerged
                     represent a careful and delicate balancing of these
                     interests and are intended to be the exclusive means of

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                     determining the rights, duties, and liabilities of the
                     affected parties in any situation covered by particular
                     provisions of the Article. Consequently, resort to
                     principles of law or equity outside of Article 4A is not
                     appropriate to create rights, duties and liabilities
                     inconsistent with those stated in this Article.


        (Emphasis added.)

              It is well-settled that the availability of a claim addressed by the Uniform

        Commercial Code pre-empts any analogous common law claim. Equitable Life

        Assurance Soc. of the U.S. v. Okey, 812 F.2d 906, 908 (4th Cir. 1987) (common-

        law claim for conversion “displaced” by UCC coverage) (South Carolina law). See,

        e.g., Nirav Ingredients, Inc. v. Wells Fargo Bank, N.A., No. 21-1983, 2022 WL

        3334626 (4th Cir. Aug. 12, 2022) (UCC Article 4A, incorporated into Federal

        Reserve Board Regulation J, preempts state law on negligence claim arising out of

        misidentification of beneficiary); Wallace ex rel. DMT, LLC v. Truist Bank, No. 21-

        2380 at 4, 2022 WL 2452355 at *1 (4th Cir. July 6, 2022) (“Title 8.4 of Virginia’s

        UCC ‘establishes the rights and duties between banks and their customers with

        regard to deposits and collections.’ The UCC preempts any common law claims

        inconsistent with its provisions.”) (citations omitted); Stefano v. First Union Nat’l

        Bank of Va., 981 F. Supp. 417, 420 (E.D. Va. 1997) (Ellis, J.) (“Virginia Code

        § 8.3A-420 . . . clearly encompasses the instant dispute and provides plaintiff with a

        remedy for the alleged wrong. . .Because § 8.3A-420 fits these facts, it follows by



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        operation of § 8.1-103 that § 8.3A-420 displaces the common law and is plaintiff’s

        exclusive remedy.”).

              The Virginia Supreme Court has addressed the issue a number of times. In

        Schlegel v. Bank of America, N.A., 271 Va. 542 (2006), that Court evaluated a

        common-law claim asserting:

                    alleged unauthorized payment orders [which were] sent to
                    the Bank. The provisions of Code § 8.4A–204(a) address
                    a receiving bank’s liability if it accepts a payment order
                    that is not authorized and not effective as the order of the
                    customer. The alleged unauthorized payment orders are a
                    “situation covered by the particular provisions” of Code §
                    8.4A–204(a) and the remedy [plaintiff] seeks in his
                    common law claims would conflict with the statutory
                    remedy. [Citations omitted.] In other words, to allow
                    [plaintiff] to proceed on his common law claims with
                    regard to the unauthorized payment orders would “create
                    rights, duties and liabilities inconsistent with those stated
                    in” Code § 8.4A–204(a). [Multiple citations omitted.].
                    Therefore, his common law claims as they relate to the
                    alleged unauthorized payment orders are preempted by the
                    provisions of Code § 8.4A–204(a).

        Id. at 553. See, e.g., Collins v. First Union Nat’l Bank, 272 Va. 744, 749-50 (2006)

        (“The principles of contract law that formerly regulated the relationships between a

        bank and its customers have been generally displaced by the Uniform Commercial

        Code with respect to any situation covered by particular provisions of Article 4 of

        the U.C.C.”).

              Studco’s claim for bailment is preempted by the principles of the Uniform

        Commercial Code, the very section upon which Studco predicates its claim of mis-

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        designation of beneficiary. It was error for the district court to hold that the common

        law of bailment applied in this case.

        III.   TO THE EXTENT ANY LIABILITY IMPOSED ON 1ST ADVANTAGE
               RESTS ON A CONCLUSION THE DEFENDANT FAILED TO
               EXERCISE REASONABLE CARE, THE DISTRICT COURT
               COMMITTED LEGAL ERROR IN NOT FINDING RECOVERY
               BARRED BY THE DOCTRINE OF CONTRIBUTORY NEGLIGENCE

               Virginia is a contributory negligence, not comparative negligence,

        jurisdiction. Any degree of contributory negligence, by a plaintiff, when proven, is

        an absolute bar to recovery on a claim predicated on the defendant’s failure to

        exercise reasonable care. AlBritton v. Commonwealth, 299 Va. 392, 411 (2021);

        Smith v. Va. Elec. & Power Co., 204 Va. 128, 133 (1963). The district court’s

        judgment in favor of Studco on its bailment claim must, as a necessity, be predicated

        on negligence; in the absence of negligence there is no bailment claim. And the

        district court’s decision in favor of Studco on its UCC claim is not predicated on the

        actual knowledge of 1st Advantage at the time the deposits were received, but rather

        on the failure of 1st Advantage to act in a commercially reasonable manner to obtain

        that knowledge – the essence of negligence.

               The district court held its conclusion, that 1st Advantage did not act in a

        commercially-reasonable way that made any negligence on the part of Studco

        irrelevant. The district court reasoned that any negligence by Studco in falling for




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        the spoofed e-mail did not relieve 1st Advantage from its obligation to act in a

        commercially-reasonable manner. Mem. Op. and Order of Jan. 12, 2023, JA582.

              With respect, that entirely misconceives the notion of contributory negligence.

        The defense of contributory negligence assumes that the defendant did not act

        properly, assumes that the defendant acted negligently, assumes that the defendant

        did not act in a commercially-reasonable manner. That is just the point. In Virginia,

        even assuming a defendant acted unreasonably, if the plaintiff’s own lack of care

        was a proximate cause of the injury, the plaintiff may not recover. 7 Here, if Studco

        had exercised just a modicum of care at the outset – calling to confirm, sending a

        modest test wire, using their regular e-mail address for Olympic, even checking to

        see if the first or second or third six-figure payment had arrived -- this case would

        never have existed.

              To begin with, the scammers obtained access to Studco’s system by hacking

        into its Office 365 account, watching its e-mail. JA117 (testimony of Studco CEO

        Benjamin Stevens). Studco’s system originally came with two-factor authentication,

        but it failed during an outage and Studco never bothered to fix it. JA141 (testimony

        of Studco CEO Benjamin Stevens).


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              It does not appear that the district court made a finding, either way, as to the
        negligence of Studco. 1st Advantage submits that the evidence is pellucid: no
        reasonable company would have fallen for the rather amateurish scam e-mail that
        induced Studco to change its payment practices.


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              The scam e-mail that Studco fell for was not sophisticated. The e-mail itself

        is found at JA475, part of Plaintiff’s Exhibit 32. It purports to come from William

        Georger, Olympic Steel’s account relationship manager for Studco. The e-mail

        contains odd phrasing (“all payment should be remitted”). It inquires whether the

        addressee is “the right person to send the new instructions to,” even though Olympic

        Steel has been doing business with Studco for over nine years (JA105, direct

        examination of Studco CEO Benjamin Stevens), and Mr. Georger regularly visited

        the Studco facilities, perhaps every two or three months. Id. The punctuation is

        notably off (three of the five sentences end with a comma rather than a period). 8

              Most notably, the signature block on the e-mail fails to match the e-mail

        address from which the e-mail was sent. The signature block for Mr. Georger bears

        his correct “.com” e-mail address, the one which Studco had been using for years.


        8
         An earlier, genuine e-mail from Olympic Steel, asking to change its bank to Bank
        of America, existed, dated September 1, 2018. At trial, Studco CEO testified that
        this e-mail was received on October 4, but he was inconsistent and noted he did not
        see the e-mail until produced by Olympic Steel in discovery. JA136-JA140. At his
        deposition, testifying under Federal Rule of Civil Procedure 36 as the corporate
        representative, Mr. Stevens testified that receiving that September 1, 2018, genuine
        e-mail and having it sit in an in-box at Studco for three weeks “wouldn’t be abnormal
        in the person responsible for AR and AP because they’re dealing with the day-to-
        day whirlwind.” JA140. There is no plain evidence that the September 1 genuine e-
        mail was not received somewhere in Studco before the scam e-mail. See JA136 ll.
        13-19; JA137-JA138 (could have sat in in box for a couple of days and then been
        altered); id. (discussing Pl.’s Ex. 16, JA461-461, dated October 4, 2018, internal,
        and attaching genuine September 1, 2018 e-mail from Olympic Steel changing
        banking information to Bank of America).


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        But the e-mail came from a “.net” address created by the scammers. The e-mail also

        copied Olympic Steel’s (false) “corporate.ar” at the new, different, and false “.net”

        address. But when Studco responded, JA474, it took no notice of the errors and

        discrepancies, and simply “replied” to the scammers at the false “.net” mail address.

        In replying to Studco, the scammers once again sent the e-mail from the false “.net”

        address, while again using the accurate and different “.com” address in the signature

        block. Anyone handling the electronic transfer of funds would have – should have –

        noticed the discrepancy between the real e-mail address included in the body of the

        communications, and the fake e-mail address from which it was sent. No one who

        has any familiarity with e-mail or the Internet would have failed to note the

        discrepancy, particularly with a half-million dollars or more at stake. Studco should

        have invested in a telephone call to Olympic Steel.

              There are other discrepancies: the telephone number for Mr. Georger in the e-

        mails uses a “716” area code (Buffalo and Western New York), while his confirming

        remittance document to Studco, JA476, uses a (203) area code and an address in

        Milford, Connecticut (and appears to have a cut-and-paste job heading). JA476. No

        one questioned why a nationwide steel manufacturer would change its bank from

        JPMorgan/Chase to a modest community-based credit union in Hampton Roads,

        where Olympic could not be a member.




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                                          CONCLUSION

              Appellant 1st Advantage Federal Credit Union respectfully requests that this

        Court reverse the determination of the district court embodied in its Memorandum

        Opinion and Order of January 12, 2023, JA550, and enter judgment for

        1st Advantage on Appellee Studco’s (i) claim for violation of Virginia Code § 8.4-

        207 and (ii) its claim based on a common-law bailment. That determination would

        moot Studco’s cross-appeal, and also would moot the still-pending application filed

        by Studco in the district court to be awarded its costs and attorney’s fees incurred.



        Respectfully submitted,

        /s/ Adam B. Pratt


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                   UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT
                                      Effective 12/01/2016

           23-1148
      No. ____________                   Studco Building Systems US, LLC v. 1st Advantage Fed
                               Caption: __________________________________________________

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      (s) Adam B. Pratt

      Party Name appellant

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